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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 15–42–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 LOGAN RIVERS WENIGER,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 23, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Logan Rivers Weniger’s

guilty plea after Weniger appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of conspiring to

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distribute 500 or more grams of methamphetamine in violation of 21 U.S.C. § 846

(Count I) and one count of possession of firearms in furtherance of a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A)(I) (Count V), as set forth

in the Superseding Indictment. Defendant further admits to the first forfeiture

allegation. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts II, IV, VI, VII, and VIII of the Superseding Indictment, as well as

the second and third forfeiture allegations.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

78), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Logan Rivers Weniger’s motion to

change plea (Doc. 60) is GRANTED and Logan Rivers Weniger is adjudged guilty

as charged in Counts I and V of the Superseding Indictment.

      DATED this 9th day of June, 2016.




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